         Entered on Docket February 9, 2018

                                                        Below is the Order of the Court.
 1

 2

 3                                                       ___________________
                                                         Christopher M. Alston
 4                                                       U.S. Bankruptcy Judge
                                                          (Dated as of Entered on Docket date above)
 5

 6

 7
     _______________________________________________________________
 8
                                                                                  Judge Christopher M. Alston
 9

10

11                            UNITED STATES BANKRUPTCY COURT FOR
                         THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
12

13   IN RE:                                                 )   CHAPTER 7
                                                            )   CASE NO. 16-15759-CMA
14                                                          )
     LELAND P. DAVIS AND JANA DAVIS,                        )
15
                                                            )   ORDER FOR SALE OF REAL
16                                                          )   PROPERTY OF THE ESTATE FREE
                                                            )   AND CLEAR OF LIENS AND
17                                        Debtors.          )   INTERESTS AND FOR RELATED
                                                            )   RELIEF
18

19            THIS MATTER having come regularly before the above signed judge of the above-entitled court

20   upon the Trustee’s Motion for Sale of Real Property of the Estate Free and Clear of Liens and Interests
21
     and for Related Relief (Docket No. 56, hereafter the “Motion”). The Court considered the Motion, the
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     Trustee’s declaration in support of the Motion (Docket No. 56-1) which includes a copy of the purchase
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     and sale agreement attached thereto (hereafter called the “Agreement”), the Debtors’ objection to the
24

25   Motion (Docket No. 66), the Trustee’s memorandum in support of the Motion (Docket No. 79) with

26   supporting declarations (Docket Nos. 79-1 and 79-2), the Debtors’ reply to the Trustee’s memorandum
27
     (Docket No. 81) with supporting declaration (Docket No. 81-1), the Trustee’s supplemental declarations

     ORDER - 1
                                                                    KRIEGMAN LAW OFFICE, PLLC
                                                                           2100 One Union Square
                                                                            600 University Street
                                                                             Seattle, WA 98101
                                                                               (206) 903-0344

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                                                             Below is the Order of the Court.
     in support of the Motion wherein he advised that he signed an addendum to the Agreement increasing
 1

 2   the sale price from $1,150,000 to $1,190,000 (Docket No. 112), the Trustee’s second supplemental

 3   declaration in support of the Motion with attached copy of the written consent to sale from Shellpoint,
 4
     the serving agent for the senior secured creditor The Bank of New York Mellon fka The Bank of New
 5
     York as Trustee for the certificateholders of CWABS Inc., asset backed certificates, series 2007-3
 6
     (hereinafter the, “Bank”), which confirms an increase in the buyer’s premium/carve out from $60,750 to
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 8   $62,750 (Docket No. 119), and the pleadings and records in the above entitled case. The Court finds

 9   that (a) proper notice of the Motion was given; (b) that the subject matter of the Motion is a matter that
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     is properly before the Court and within its core jurisdiction; (c) that the sale of the real property of the
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     bankruptcy estate subject to the Motion identified below (hereinafter the “Property”, a legal description
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     of which is attached hereto as Exhibit A) to the party identified in the Motion and below herein
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14   (hereinafter the, “Buyer”) is in the best interest of the Estate pursuant to 11 U.S.C. §363(f) and other

15   applicable law and should be authorized on the terms and conditions contained in the Agreement; (d) the
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     proposed buyer is a bona fide good faith purchaser for value and should be authorized to purchase the
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     Property; (e) the Trustee should be authorized, in his discretion, to execute any agreements, instruments,
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     or other documents which he deems necessary to carry out the sale and this order; and (f) the Motion
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20   should be granted in all respects. NOW, THEREFORE,

21        IT IS HEREBY ORDERED as follows:
22
          1.        The Motion is granted.
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          2.        The Trustee is authorized to sell the Property, in accordance with the Agreement, on the
24
     following terms and conditions:
25

26      Street address of property to be sold with abbreviated legal description/tax parcel no.: 3624 NW 65th Court,
        Seattle, WA 98117/Lt. 1, Blk. 11, Ballard's 4 Acre Home Tracts, Tax Account No. 048600-0575-08
27
        Buyer: Carmel Mountain 3 LLC (hereafter the, “Buyer”)

     ORDER - 2
                                                                        KRIEGMAN LAW OFFICE, PLLC
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                                                                 Below is the Order of the Court.
 1         Sale price: $1,190,000.00 or such higher price as the parties may agree in order to close the sale
 2
           Buyer’s Premium (Carve-Out)/Total Funds from Buyer: $62,750.00/$1,252,750.00 plus applicable closing
 3         costs, if any, of buyer

 4        Primary terms of sale: Cash at closing (20 days after Court approval or later if agreed); contingent on
          Buyer’s right to inspection and feasibility study
 5
           Costs of sale: The Trustee will pay costs of sale customarily paid by sellers in King County real estate sales
 6         including but not limited to real estate agent commission, title insurance premium, real estate excise taxes,
           one-half of the escrow costs, etc. Buyer will pay $181 filing fee for Motion.
 7

 8         Known encumbrances and approximate/estimated amount of claims:

 9            (1) Deed of Trust - The Bank - $1,300,000.000
              (2) Utility liens or charges - The amount and existence of any such liens or charges are presently
10                unknown or will not be known until closing
              (3) Easements, covenants, restrictions, reservations, and dedications shown of record.1
11

12             3.      The Buyer is deemed a good faith purchaser for value.

13             4.      The sale of the Property to the Buyer shall be “as is, where is” without any
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     representations or warranties, express or implied, of any kind.
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               5.      The sale of the Property shall be free and clear of any and all liens and interests with any
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     such liens and interest to attach to the proceeds of sale as though those proceeds were the Property with
17

18   said liens and interests to be satisfied from said proceeds.

19             6.      Notwithstanding the foregoing, the Trustee is authorized to pay from the proceeds of sale
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     at closing the above named secured claims in the order of their liens to the extent funds are available as
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     well as the costs and other charges related to sale identified herein.
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               7.      The buyer’s premium/carve out of at least $62,750 is approved.
23

24

25

26

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     1
      The actual extent or amount of secured claims may be more or less than what is shown.

     ORDER - 3
                                                                            KRIEGMAN LAW OFFICE, PLLC
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                                                                                       (206) 903-0344

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                                                           Below is the Order of the Court.
            8.       At least one half of the funds received by the bankruptcy estate from the sale shall be
 1

 2   for distribution to pre-petition creditors with allowed claims. If those creditors are paid in full, any

 3   remaining funds may be available for administrative expenses.
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            9.       The Trustee is authorized to execute any agreements, instruments, or other documents
 5
     which he determines at his discretion may be necessary to carry out the sale and this order.
 6
            10.      The Court’s ruling on the record is incorporated by reference herein.
 7

 8          11.      This is a final order in accordance with applicable rules of bankruptcy procedure and

 9   applicable law.
10
                                                      ///End of Order///
11

12

13
     Presented by:
14
     KRIEGMAN LAW OFFICE, PLLC
15

16
     /s/ Bruce P. Kriegman
17   ______________________________
     Bruce P. Kriegman, WSBA # 14228
18   Attorney for Trustee
19

20   Approved as to form; Notice of
     presentation waived:
21
     SYMMES LAW GROUP, PLLC
22
     SOHDVHVHHDWWDFKHGVLJQDWXUH
23   SHUHPDLODXWKRUL]DWLRQ
     _______________________________
     Richard J. Symmes, WSBA# 41475
24   Attorney for the Debtors
25

26

27


     ORDER - 4
                                                                     KRIEGMAN LAW OFFICE, PLLC
                                                                           2100 One Union Square
                                                                            600 University Street
                                                                             Seattle, WA 98101
                                                                               (206) 903-0344

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                                    EXHIBIT A




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    GHVFULSWLRQ




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